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                            UNITED STATES DISTRICT COURT                               2020   JAN 27   tM   9:35
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §                                                    3Y_

         Plaintiff,               §
                                                        §
V.                                                      §    CASE # 1:19-CV-754-RP
                                                        §
BRANDI K STOKES,                                        §
                Defendant.                              §

                                     MOTION TO DISMISS

       NOW COMES Defendant, Brandi K Stokes, and files this Motion to Dismiss on the

ground that the State of Texas has lost standing to pursue disciplinary action against the

Defendant.

        Defendant currently has pending before the International Criminal Court a request for

prosecution that includes a determination of status request. Defendant, at a minimum, is entitled

to Prisoner of War status until such time as a hearing can be held and a determination can be made

by a court of competent jurisdiction.

        Pursuant to Geneva Convention III, art. 14, Prisoners of War shall retain the full civil

capacity which they enjoyed at the time of their capture. At the time that the Defendant fell into

the power of the enemy, the Defendant was already licensed to practice law. The State of Texas

has lost standing to alter the status of the Defendant's license, at this juncture.

        Further, Geneva Convention III, art. 82, provides that "[a] prisoner of war shall be subject

to the laws, regulations and orders in force in the armed forces of the Detaining Power; the

Detaining Power shall be justified in taking judicial or disciplinary measures in respect of any

offence committed by a prisoner of war against such laws, regulations or orders. However, no

proceedings or punishments contrary to the provisions of this Chapter shall be allowed." Article
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82 clearly designates the "Detaining Power" as the authority for bringing judicial or disciplinary

measures against a Prisoner of War. If the State of Texas has any qualms with any of the

Defendant's alleged conduct, it must present it's concerns to the United States and the United

States must bring the measure.1 The State of Texas does not have standing to litigate against the

Defendant, at this juncture. Moreover, Geneva Conventions III, art. 89, describes the maximum

disciplinary punishments applicable to prisoners of war. The allowable disciplinary actions

available to the State of Texas through any application for disciplinary action to the United States

does not include suspension or revocation of the Defendant's law license.

        Finally, Geneva Conventions III, art. 86, provides that "Prisoners of war may not be

punished more than once for the same act, or on the same charge." In the case underlying the

Plaintiff's claim, multiple motions for sanctions were filed against the Defendant and

were denied in their entirety.

        Defendant wherefore prays that Plaintiff's claims be dismissed with prejudice.

DATED: January 27, 2020.


                                                     Brandi K Stokes, Defendant
                                                     Texas State Bar No. 24044940
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                                                     P.O. Box 301916 AUSTiN, TX 78703
                                                                           I




'While the detainment of the Defendant appears to be well-orchestrated by a coalition of various non-NATO member
states, the United States is a Detaining Power for the purpose of Geneva Conventions application, because the United
States allowed itself to be infiltrated by enemy forces and the initial war crime was committed by persons in the
employment of the United States. Other High Contracting Parties suspected to be involved with the detainment of
the Defendant include Egypt, Russia, Turkey, Pakistan, and China. The International Committee of the Red Cross is
the default Protecting Party until a protecting authority can be designated. Any NATO member state not having a
conflict of interest is qualified to be designated as a Protecting Party.
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                               CERTIFICATE OF SERVICE

       I certify that on January 27, 2020, a true and correct copy of this Motion to Dismiss was
served on counsel for the Plaintiff through CMRRR.



                                            Brandi K Stokes
